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May 14, 2025

FILED AND SERVED VIA CM/ECE

Hon. Georgette Castner, U.S.D J.

United States District Court, District of New Jersey
Clarkson §. Fisher Bldg. & U.S. Courthouse

402 I. State Street

Trenton, Nd 08608

Re: HANNAH LOVAGLIO, J.L. and B.L., by next friend, Hannah Lovaglio, et al, v.
KAITLAN BASTON, et al. Civil Action No.: 8:23-cv-21803
Dear Judge Castner:

This firm represents Plaintiffs Hannah Lovaglio, J.L. and B.L., by next friend, Hannah
Lovaglio, Erica Jedynak, Jeremiah Jedynak, and C.J., by next friends, and Erica and
Jeremiah Jedynak, in the above-referenced action.

Pursuant to Local Civil Rule 101.1(c)(5), we respectfully request Your Honor’s approval of the
withdrawal of Brian A. Morris as pro hac vice counsel. Mr. Morris was admitted pro hac vice
on behalf of Plaintiffs by this Court’s Order on February 5, 2024 (ACF No. 15). The law firms
of Pashman Stein Walder Hayden, P.C. and the Institute for Justice will continue to
vepresent Plaintiffs in this action.

If Your Honor approves, we respectfully request that you “So Order” this letter and have it
filed on the docket. Thank you for your consideration.

Respectfully submitted,

/s/ CJ Griffin
Cd Griffin, Esq. (NJ Bar No. 081422009)
PASHMAN STEIN WALDER HAYDEN, P.C.

Brian A. Morris, Esq.*
Robert Frommer, Esq.*
Christen M. Hebert, Esq.*
INSTITUTE FOR JUSTICE

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